           Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 1 of 192



1     BOUTIN JONES INC.
     James D. McNairy (SBN 230903)
2    jmcnairy@boutinjones.com
     Michael G. Cross (SBN 268999)
3    mcross@boutinjones.com
     Andrew A. Bozant (SBN 305143)
4    abozant@boutinjones.com
     555 Capitol Mall, Suite 1500
5    Sacramento, CA 95814
     Telephone: (916) 321-4444
6    Fax: (916) 441-7597

7    Attorneys for Defendant Strio Consulting, Inc.

8

9                                 UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11

12   ROCKETPOWER, INC., a Delaware                         Case No.
     corporation,
13                                                         DEFENDANT STRIO CONSULTING,
                            Plaintiff,                     INC.’S NOTICE OF REMOVAL OF
14                                                         CIVIL ACTION TO UNITED STATES
             v.                                            DISTRICT COURT UNDER 28 U.S.C.
15                                                         § 1441(b)
     STRIO CONSULTING, INC., a Minnesota
16   corporation,                                          [County of San Francisco Superior Court
                                                           Case No. CGC-19-575643]
17                          Defendant.
                                                           [Filed Concurrently with Declaration of
18                                                         Caleb Fullhart, Notice of Pendency of
                                                           Other Action, Certificate of Interested
19                                                         Parties, Disclosure Statement, and Civil
                                                           Cover Sheet]
20

21           TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

22   NORTHERN DISTRICT OF CALIFORNIA, PLAINTIFF, AND ITS COUNSEL OF

23   RECORD:

24           PLEASE TAKE NOTICE that Defendant, Strio Consulting, Inc. (“Strio”) hereby removes

25   the above-captioned action filed by Plaintiff RocketPower, Inc. (“Plaintiff”), from the Superior

26   Court of the State of California, County of San Francisco, to the United States District Court for the

27   Northern District of California, pursuant to 28 U.S.C. § 1441(b).

28   ///

                                                       1
                      DEFENDANT STRIO CONSULTING, INC.’S NOTICE OF REMOVAL                          1016021.3
           Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 2 of 192



1                                      I.         REMOVAL IS TIMELY

2            1.    On or about April 30, 2019, Plaintiff filed a Complaint against Strio, entitled

3    RocketPower, Inc. v. Strio Consulting, Inc., Case No. CGC-19-575643 (the “Complaint”). The

4    Complaint alleges three causes of action: (1) Declaratory Judgment; (2) Intentional Interference

5    with Contractual Relations; and (3) Negligent Interference with Prospective Economic Advantage.

6            2.    Strio was served with the Complaint on April 30, 2019. A true copy of the filed

7    Complaint, the First Amended Complaint (“FAC”), Summons, Civil Case Cover Sheet, and all other

8    pleadings in the state court action areattached to this Notice of Removal (“Notice”) as Exhibit A.

9            3.    On information and belief, no other named Defendants have been properly joined and

10   served in this Action. On further information and belief, any other defendants, if and when properly

11   served, will consent to this removal.

12           4.    As required by 28 U.S.C. § 1446(b), Notice was filed within 30 days after Strio was

13   first served with a copy of the Summons and Complaint.

14                                          II.      VENUE IS PROPER

15           5.    The Superior Court of California, County of San Francisco, is located within the

16   territory of the Northern District of California. Therefore, venue for the purposes of removal is

17   proper pursuant to 28 U.S.C. § 84(a) because it is the “district and division embracing the place

18   where such action is pending.” 28 U.S.C. § 1441(a).

19                                            III.    JURISDICTION

20           6.    This is a civil action over which this Court has original jurisdiction under 28 U.S.C.

21   § 1332(a), and is one which may be removed to this Court by Strio pursuant to the provisions of 28

22   U.S.C. § 1441(b) in that it is a civil action between citizens of different States and the matter in

23   controversy exceeds the sum of $75,000, exclusive of interest and costs.

24           A.    The Parties Are Diverse

25                 1.       Plaintiff’s Citizenship

26           7.    Plaintiff is incorporated under the laws of the State of Delaware with its principal

27   place of business in San Francisco, California. FAC ¶ 2.

28   ///

                                                          2
                        DEFENDANT STRIO CONSULTING, INC.’S NOTICE OF REMOVAL                      1016021.3
           Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 3 of 192



1            B.    Defendant’s Citizenship

2            8.    Strio is incorporated under the laws of the State of Minnesota with its principal place

3    of business in Lake Elmo, Minnesota. Fullhart Decl. ¶ 2; see also FAC ¶ 3 (alleging Strio’s principal

4    place of business is in Lake Elmo, Minnesota).

5            9.    As a corporation, Strio is deemed a citizen of “every State…by which it has been

6    incorporated and of the State…where it has its principal place of business.” 28 U.S.C. § 1332(c)(1).

7    The term “principal place of business” in the Federal diversity jurisdiction statute refers to the

8    “nerve center” of the corporation, which is “the place where a corporation’s officers direct, control,

9    and coordinate the corporation’s activities,” and is “normally … the place where the corporation

10   maintains its headquarters—provided that the headquarters is the actual center of direction, control,

11   and coordination … and not simply an office where the corporation holds its board meetings.”

12   Hertz Corp. v. Friend, 559 U.S. 77, 92–93 (2010). Strio’s headquarters are located at 1390 Neal

13   Avenue North, Lake Elmo, Minnesota. Fullhart Decl. ¶ 2. At the time of the filing of the Complaint

14   in this case, and as of today, Strio’s sole corporate officer resides and works in Lake Elmo,

15   Minnesota. When decisions are made about Strio’s business, those decisions are made in Lake

16   Elmo, Minnesota. Accordingly, for purposes of determining diversity of citizenship, Strio is a

17   citizen of Minnesota.

18           C.    The Amount In Controversy More Likely Than Not Exceeds $75,000

19           10.   The amount in controversy is unclear on the face of the Complaint. However, Plaintiff

20   alleges that “Strio’s liability, as set forth in th[e operative] Complaint, exceeds $25,000.” FAC ¶ 4.

21   Plaintiff does not otherwise identify a dollar amount of claimed damages.

22           11.   When the amount in controversy is unclear, removal is proper “if the district court

23   finds, by the preponderance of the evidence, that the amount in controversy exceeds the amount

24   specified in section 1332(a).”      28 U.S.C. § 1446(c)(2)(B); Guglielmino v. McKee Foods

25   Corporation, 506 F.3d 696, 700-01 (9th Cir. 2007). Any “sums [that] would entail a payment by

26   [the defendant] … must be included within any amount-in-controversy calculation,” including

27   compensatory damages, punitive damages, and attorneys’ fees. Guglielmino, 506 F.3d at 701.

28   ///

                                                       3
                      DEFENDANT STRIO CONSULTING, INC.’S NOTICE OF REMOVAL                          1016021.3
        Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 4 of 192



1           12.    Plaintiff alleges it was damaged when Strio caused its clients to breach their

2    agreements with Plaintiff. FAC ¶ 112. Plaintiff alleges that the at-issue clients are “Nuro, Minted,

3    Reflektive and numerous other growing companies.” Id. ¶ 110.

4           13.    Plaintiff further alleges that Strio’s actions were “willful, malicious, and in reckless

5    disregard for the rights of others,” for which reason, “RocketPower is entitled to an award of

6    punitive damages ….” FAC ¶ 117.

7           14.    Plaintiff also seeks to recover its attorneys’ fees. FAC, Prayer ¶ 4.

8           15.    Plaintiff alleges that its relationships with its clients “created a 50% profit split for

9    Strio.” FAC ¶ 86.

10          16.    During 2018, Strio's work for Nuro, Minted and Reflektive, the clients identified in

11   Rocket Power's Amended Complaint, generated well in excess of $75,000 in Strio profit. Fullhart

12   Decl. ¶ 3.

13          17.    Because Strio’s work for Nuro, Minted and Reflektive generated well over $75,000

14   in Strio profit, and Plaintiff alleges that it and Strio split the profits of from its clients 50/50,

15   Plaintiff’s alleged losses from Reflektive, Minted, and Nuro exceed the jurisdictional limit set forth

16   in 28 U.S.C. § 1332(a).

17          18.    Plaintiff’s prayers for punitive damages and attorneys’ fees further evidence that the

18   amount in controversy more likely than not exceeds $75,000. See, e.g., Brady v. Mercedes-Benz

19   USA, Inc., 243 F. Supp. 2d 1004, 1009 (N.D. Cal. 2002) (“The amount in controversy for diversity

20   jurisdiction may include punitive damages if recoverable under state law.”) (citations omitted);

21   Lowdermilk v. U.S. Bank Nat’l Ass’n, 479 F.3d 994, 1000 (9th Cir. 2007) (attorneys’ fees properly

22   included in amount in controversy calculation).

23          19.    “[A] defendant’s notice of removal need include only a plausible allegation that the

24   amount in controversy exceeds the jurisdictional threshold. Dart Cherokee Basin Operating Co.,

25   LLC v. Owens, 574 U.S. 81, 135 S. Ct. 547, 554 (2014). Considering Plaintiff’s prayers for lost

26   profits, punitive damages, and attorneys’ fees, the amount in controversy in this action can be easily

27   read to aggregate an amount in excess of the requirement for removal pursuant to 28 U.S.C. §1441.

28   Accordingly, removal is proper.

                                                       4
                      DEFENDANT STRIO CONSULTING, INC.’S NOTICE OF REMOVAL                          1016021.3
        Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 5 of 192



1                     IV.   SATISFACTION OF PROCEDURAL REQUIREMENTS

2              20.   Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders served

3    upon Strio are exhibits to this Notice. Pursuant to 28 U.S.C. § 1446(d), a “Notice to Plaintiff and

4    Clerk of the California Superior Court of Removal of Civil Action to the United States District

5    Court” (to include a copy of this Notice of Removal and all Exhibits) will be promptly filed with

6    the Clerk of the Superior Court of California for the City and County of San Francisco, and served

7    on all other parties to this action. Pursuant to 28 U.S.C. § 1446(b)(2)(A), all properly joined and

8    served defendants have consented to this removal.

9              21.   Pursuant to Local Rule 3-2(a), Strio is filing a civil cover sheet concurrent with this

10   Notice.

11             22.   Pursuant to Local Rule 3-13, Strio is filing a Notice of Pendency of Other Action

12   concurrent with this Notice.

13             23.   Pursuant to Local Rule 3-2(d), Removal and Intradistrict Assignment to the

14   San Francisco or Oakland Division of this Court is proper because this action arose in the County

15   of San Francisco.

16                                           V.    CONCLUSION

17             24.   This is a civil action over which this Court has original jurisdiction under 28 U.S.C.

18   § 1332(a), and is one which may be removed to this Court by Strio pursuant to the provisions of 28

19   U.S.C. § 1441(b) in that it is a civil action between citizens of different States and the matter in

20   controversy exceeds the sum of $75,000, exclusive of interest and costs. Accordingly, Strio

21   respectfully requests that the action now pending against it in the Superior Court of California,

22   County of San Francisco, be removed to this Court.

23   DATED: May 24, 2019                                    Boutin Jones Inc.
24
                                                            By:    /s/ James D. McNairy
25                                                                 James D. McNairy
                                                                   Attorneys for Defendant
26                                                                 Strio Consulting, Inc.
27

28

                                                        5
                       DEFENDANT STRIO CONSULTING, INC.’S NOTICE OF REMOVAL                          1016021.3
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 6 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 7 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 8 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 9 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 10 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 11 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 12 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 13 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 14 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 15 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 16 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 17 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 18 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 19 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 20 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 21 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 22 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 23 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 24 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 25 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 26 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 27 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 28 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 29 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 30 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 31 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 32 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 33 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 34 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 35 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 36 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 37 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 38 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 39 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 40 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 41 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 42 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 43 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 44 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 45 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 46 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 47 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 48 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 49 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 50 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 51 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 52 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 53 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 54 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 55 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 56 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 57 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 58 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 59 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 60 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 61 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 62 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 63 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 64 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 65 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 66 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 67 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 68 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 69 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 70 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 71 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 72 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 73 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 74 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 75 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 76 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 77 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 78 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 79 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 80 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 81 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 82 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 83 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 84 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 85 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 86 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 87 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 88 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 89 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 90 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 91 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 92 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 93 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 94 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 95 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 96 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 97 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 98 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 99 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 100 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 101 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 102 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 103 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 104 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 105 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 106 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 107 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 108 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 109 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 110 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 111 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 112 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 113 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 114 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 115 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 116 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 117 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 118 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 119 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 120 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 121 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 122 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 123 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 124 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 125 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 126 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 127 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 128 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 129 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 130 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 131 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 132 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 133 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 134 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 135 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 136 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 137 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 138 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 139 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 140 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 141 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 142 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 143 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 144 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 145 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 146 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 147 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 148 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 149 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 150 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 151 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 152 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 153 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 154 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 155 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 156 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 157 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 158 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 159 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 160 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 161 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 162 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 163 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 164 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 165 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 166 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 167 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 168 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 169 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 170 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 171 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 172 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 173 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 174 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 175 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 176 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 177 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 178 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 179 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 180 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 181 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 182 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 183 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 184 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 185 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 186 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 187 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 188 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 189 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 190 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 191 of 192
Case 3:19-cv-02900-WHA Document 1 Filed 05/24/19 Page 192 of 192
